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              EXHIBIT A
                 [REDACTED]
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                          In the Matter Of:

               UNITED STATES OF AMERICA v
                             GOOGLE LLC




                   FRANCOIS LAFLAMME
                         February 20, 2025
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                                                                                  33
·1· · · ·Q.· · ·Does Sameer Samat sound familiar?

·2· · · ·A.· · ·Yes, yeah.· So who runs essentially the

·3· Android piece of their business.

·4· · · · · · · · · Peter Fitzgerald, who runs, my

·5· understanding, is all partnerships for the business.

·6· · · · · · · · · Toru -- again, my apologies, I will

·7· not remember his last name -- who also is our --

·8· more our daily interface with Google.

·9· · · · · · · · · There's a few other technical people

10· that we meet with as well.· Bjorn, as an example, is

11· one of the technical people.

12· · · · · · · · · I also meet with Jon French, who

13· runs their go-to-market program, and his team.

14· Yeah.

15· · · ·Q.· · ·Now, I think it's come up a few times

16· today, but are you familiar with Motorola's Search

17· agreement with Google?

18· · · ·A.· · ·Generally, yes.

19· · · ·Q.· · ·Have you ever reviewed or looked at the

20· agreement itself?

21· · · ·A.· · ·Yes.

22· · · ·Q.· · ·Does Motorola sometimes refer to this


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·1· agreement as the RSA?

·2· · · ·A.· · ·Yes.

·3· · · ·Q.· · ·Have you been involved in negotiations

·4· with Google relating to the RSA?

·5· · · ·A.· · ·I have.

·6· · · ·Q.· · ·Motorola entered into an RSA with Google

·7· in 2020; correct?

·8· · · · · · · · · MS. O'CONNOR:· Objection.

·9· Foundation.

10· · · ·A.· · ·I don't know the exact dates of previous

11· RSAs, but yes, we have had an RSA for several years

12· with Google.

13· · · ·Q.· · ·Motorola's RSA with Google was recently

14· amended in -- actually, this month, February of

15· 2025; correct?

16· · · ·A.· · ·Correct.

17· · · ·Q.· · ·Okay.

18· · · · · · · · · If I refer to the most recent

19· amendment as the "February amendment," will you

20· understand that I'm referring to the most recent

21· amendment to Motorola's RSA with Google?

22· · · ·A.· · ·Yes.


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·1· either '23 or '24.· And it's either CES or MWC, it

·2· was one of those sessions.· I know the year makes a

·3· difference, so I'm trying to remember.

·4· · · · · · · · · MS. O'CONNOR:· If you remember

·5· later, we can clarify.

·6· · · · · · · · · THE WITNESS:· Sorry?

·7· · · ·Q.· · ·If you --

·8· · · · · · · · · MS. O'CONNOR:· If you remember

·9· later, we can clarify.

10· · · ·A.· · ·Yeah, let me -- if you don't mind, let

11· me clarify that point, too.

12· · · ·Q.· · ·Yeah.· No problem.

13· · · · · · · · · After raising this point with

14· Google, realizing that we're not sure exactly when

15· it was raised, what happened in terms of discussions

16· with Google?

17· · · · · · · · · MR. GREENBLUM:· Objection to the

18· form.

19· · · ·A.· · ·Well, we've always had a lot of

20· discussions with Google.· I would say the catalyst

21· for a more energetic discussion around the RSA came

22· at a time that we signaled that we would -- or we


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·1· were looking at potentially other alternatives.· We

·2· had no choice but to look at other alternatives for

·3· us to stay competitive, given the funding that we

·4· were receiving.

·5· · · ·Q.· · ·Okay.

·6· · · · · · · · · Do you recall roughly when Motorola

·7· signaled that to Google?

·8· · · ·A.· · ·Yeah.· Definitely in January/February of

·9· '24.· I will come back and confirm if it was as far

10· back as '23.· But definitely the January/February of

11· '24.

12· · · ·Q.· · ·Okay.

13· · · · · · · · · When you say that Motorola was

14· looking at potential alternatives, what do you mean

15· by "potential alternatives"?

16· · · ·A.· · ·So we were having discussions at that

17· point in time predominantly with Microsoft on their

18· Copilot application.

19· · · ·Q.· · ·Did those discussions with Microsoft and

20· Copilot also involve Bing search in any way?

21· · · ·A.· · ·Yes, to the extent that Copilot would be

22· using their Bing platform for any search query that


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·1· a consumer would do through their app.

·2· · · ·Q.· · ·What happened after you informed -- or

·3· signaled to Google that you were looking at

·4· alternatives?

·5· · · ·A.· · ·This is my perception, but they started

·6· to take the conversation a little bit more

·7· seriously.

·8· · · ·Q.· · ·Why was that your perception?

·9· · · ·A.· · ·We were starting to get access to the

10· executives much more actively.· We were having more

11· open dialogue with them around opportunities to

12· relook at the RSA.

13· · · · · · · · · We ultimately received go-to-market

14· funds in '24 as a bridge-gap to what we perceived to

15· be a portion -- not the entirety, but a portion of

16· the gap in RSA dollars.

17· · · · · · · · · And then ultimately to where we are

18· today with the February RSA and go-to-market

19· agreements that we just signed.

20· · · ·Q.· · ·Okay.

21· · · · · · · · · So you said you received

22· go-to-market funds in 2024 to bridge the gap.


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·1· · · · · · · · · Had Motorola received go-to-market

·2· funds from Google in prior years?

·3· · · ·A.· · ·Yes.· Although in a different format,

·4· there was a program, I believe it was code named

·5· CHOWA, that was -- and if I recall, a much smaller

·6· amount of go-to-market dollars -- very specifically

·7· directed to select markets that were most important

·8· for Google to compete with Apple.

·9· · · ·Q.· · ·Was the United States one of those

10· markets?

11· · · ·A.· · ·I believe it was.

12· · · ·Q.· · ·For the CHOWA go-to-market funds, were

13· there any search-related requirements that Motorola

14· had to meet to receive those funds?

15· · · ·A.· · ·I don't recall.· I don't believe so.

16· · · ·Q.· · ·So now, thinking about the go-to-market

17· funds in 2024, could you describe those

18· go-to-market -- or sorry.· Let me start over.

19· · · · · · · · · For the go-to-market funds in 2024,

20· were those pursuant to agreements with Google?

21· · · ·A.· · ·Can you clarify "pursuant."

22· · · ·Q.· · ·Did Motorola enter into contracts with


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·1· Google to receive the go-to-market funds?

·2· · · · · · · · · MS. O'CONNOR:· Objection.· Vague.

·3· · · ·A.· · ·I believe so, but my timing may be off.

·4· · · · · · · · · I believe clearly that we needed to

·5· have an RSA in place, but I don't believe there was

·6· any specific tie within the go-to-market agreement

·7· with that specificity, but I may be wrong.

·8· · · ·Q.· · ·Do you know roughly how much Motorola

·9· received in go-to-market funds from Google in 2024?

10· · · ·A.· · ·

11· · · ·Q.· · ·Are you familiar with an agreement

12· between Motorola and Google called the marketing

13· agreement that was signed in June of 2024?

14· · · ·A.· · ·Yes, I believe so.· I believe so.· I'd

15· have to take a look at it just to be clear on which

16· one that is.

17· · · · · · · · · MS. WRIGHT:· Ms. Peters, please mark

18· this document as Exhibit 1.

19· (Laflamme Exhibit 1, e-mail with attachment

20· "Marketing Agreement," Bates MOTO-DDC-00169285 --

21· 297, was marked for identification.)

22· · · ·Q.· · ·Exhibit 1 has the Bates, sorry,
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·1· MOTO-DDC-00169285.· It is an e-mail thread with a

·2· document attached.· The document is titled

·3· "Marketing Agreement."

·4· · · · · · · · · Mr. Laflamme, please take a minute

·5· to review Exhibit 1 and let me know when you are

·6· ready to discuss.· And just so you know, I won't be

·7· asking you anything about the e-mail chain in the

·8· front.

·9· · · ·A.· · ·Okay.

10· · · · · · · · · You can go ahead.

11· · · ·Q.· · ·Okay.

12· · · · · · · · · Mr. Laflamme, have you seen the

13· marketing agreement that is part of Exhibit 1

14· before?

15· · · ·A.· · ·This agreement, yes.

16· · · ·Q.· · ·Okay.

17· · · · · · · · · At a very high level, what is this

18· agreement?

19· · · ·A.· · ·This is the marketing agreement

20· regarding the $                that we just discussed in

21· terms of go-to-market dollars.

22· · · ·Q.· · ·So am I correct, under this agreement,
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·1· Motorola received $                for marketing

·2· activities?

·3· · · · · · · · · MS. O'CONNOR:· Object to form.

·4· · · ·A.· · ·Yes.

·5· · · ·Q.· · ·Were there -- or excuse me.

·6· · · · · · · · · Were there restrictions on how

·7· Motorola could spend the funds that it received?

·8· · · ·A.· · ·Yes.

·9· · · ·Q.· · ·What kinds of restrictions were put on

10· the way that Motorola could spend the funds?

11· · · · · · · · · MR. GREENBLUM:· Objection to the

12· form.

13· · · ·A.· · ·Can you give me one minute just to --

14· · · ·Q.· · ·Yes, please take a moment.

15· · · ·A.· · ·-- review what was in this contract

16· versus what was discussed.

17· · · · · · · · · Okay.· So a few.

18· · · · · · · · · One was -- which, in my review here,

19· I don't see explicitly laid out, maybe I'm wrong --

20· the dollars needed to be used specifically to

21· promote Google assets, predominantly Gemini.· They

22· needed to be with respect to our more premium
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·1· devices.· So, in this case, Razr and Edge.· There

·2· was some debate as to which Edge devices would

·3· qualify depending on their price points in the

·4· market.

·5· · · · · · · · · There was also an agreement that had

·6· to be made on which markets we could invest those

·7· dollars.

·8· · · · · · · · · The marketing plans needed to be

·9· approved by Google in advance of each quarter.                       I

10· believe we had to submit all the invoices for the

11· amounts of spend associated with those dollars.

12· · · · · · · · · We had to get all creative reviewed

13· and approved by Google for any assets including,

14· obviously, the Google -- Google platforms.

15· · · · · · · · · We had a 30-day period post-launch

16· of our Razr devices to -- I'm paraphrasing -- but

17· only promote Gemini or Google assets.

18· · · · · · · · · And we had to review the performance

19· of the devices and those dollars with Google on a

20· quarterly basis.

21· · · ·Q.· · ·So could Motorola use funds from this

22· marketing agreement to market an Android device that


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·1· · · · · · · · · MS. O'CONNOR:· Is now an okay time

·2· to break?

·3· · · · · · · · · MS. WRIGHT:· You read my mind.

·4· · · · · · · · · Let's go off the record.

·5· · · · · · · · · THE VIDEOGRAPHER:· Off the record at

·6· 10:14.

·7· (RECESS, 10:14 a.m. - 10:31 a.m.)

·8· · · · · · · · · THE VIDEOGRAPHER:· On the record at

·9· 10:31.

10· BY MS. WRIGHT:

11· · · ·Q.· · ·Mr. Laflamme, before the break, we were

12· discussing both Motorola's RSA with Google and the

13· go-to-market funds that Motorola receives from

14· Google; correct?

15· · · ·A.· · ·Correct.

16· · · ·Q.· · ·I believe you mentioned that the

17· marketing funds that Motorola received from Google

18· in 2024 were to bridge the gap in the RSA funds that

19· Motorola was receiving from Google, and the funds

20· that Motorola thought it should be receiving?

21· · · · · · · · · MR. GREENBLUM:· Objection to the

22· form.


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·1· · · ·A.· · ·Let me restate it slightly.

·2· · · · · · · · · In our view, and in conversations

·3· with Google, those were dollars to get us to a

·4· higher level, in totality, RSA plus go-to-market

·5· dollars, closer to where we believe we should be,

·6· but not where we believe we should be.

·7· · · ·Q.· · ·So how would the marketing funds that

·8· Motorola received from Google -- sorry.· Let me

·9· actually think about that question.

10· · · · · · · · · How would the marketing funds that

11· Motorola received from Google help bridge the gap?

12· · · · · · · · · MR. GREENBLUM:· Objection to the

13· form.

14· · · ·A.· · ·The way we used those specific dollars,

15· the financial benefits would be dollars that we

16· would generally pay out of our own A&P that we were

17· then using these dollars to pay, instead.

18· · · · · · · · · So as an example, if a market was

19· supposed to spend $10 million one quarter in A&P, we

20· would be using the $10 million from Google.

21· Net-net, that was a 10 million saving to our

22· business.


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·1· · · · · · · · · MR. GREENBLUM:· Objection to the

·2· form.· Lacks foundation.

·3· · · ·A.· · ·My understanding for selection, yes.

·4· · · ·Q.· · ·For what selection?

·5· · · ·A.· · ·So I believe there are a few ingress

·6· points on home screen, as an example, to have the

·7· search widget.· To have a default search on-device.

·8· Out-of-the box experience with that default

·9· assistant.

10· · · · · · · · · I believe it's press and hold the

11· Power key as well, which will bring up -- in this

12· case, I believe it's Gemini, but Google asset, as an

13· example of those ingress points.

14· · · · · · · · · So yes, there are -- my

15· understanding is there are very specific

16· requirements for us to achieve those dollars to have

17· those in place.

18· · · ·Q.· · ·Just based on your understanding and

19· knowledge, if Motorola has Google set as the default

20· for more ingress points, does Motorola earn more

21· payments?

22· · · · · · · · · MR. GREENBLUM:· Objection to the


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·1· form.

·2· · · ·A.· · ·As far as I understand, and in

·3· conversations I had, the RSA payment is a fixed

·4· amount, and is based on number of devices more than

·5· the actual revenue associated with a consumer

·6· accessing Google properties.

·7· · · · · · · · · We've had discussions with Google

·8· about switching to a variable model, which my

·9· understanding would allow for us earning a higher

10· amount if we had more access points, but by

11· virtue -- my understanding, by virtue of the fixed

12· structure, that the driver of increased payments

13· would be units.

14· · · ·Q.· · ·Okay.

15· (Laflamme Exhibit 3, Amendment 10, Google Mobile

16· Incentive Agreement, GOOG-34925195-201, was marked

17· for identification.)

18· · · ·Q.· · ·So Exhibit 3 has the Bates

19· GOOG-34925195, and is titled "Amendment 10 to Google

20· Mobile Inventive Agreement."

21· · · · · · · · · Mr. Laflamme, please take a few

22· moment to look at Exhibit 3, and let me know when


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·1· you're ready to discuss it.

·2· · · ·A.· · ·Yeah.

·3· · · ·Q.· · ·Do you recognize Exhibit 3?

·4· · · ·A.· · ·I do.

·5· · · ·Q.· · ·What is Exhibit 3?

·6· · · ·A.· · ·This is Amendment 10, which essentially

·7· is an amendment for the new RSA agreement.

·8· · · ·Q.· · ·Have you seen Amendment 10 before?

·9· · · ·A.· · ·Yes.

10· · · ·Q.· · ·Please turn to page 2 of Amendment 10,

11· which has Bates 196.· And on page 2, in the middle

12· of the page, there is a Subsection 2.3.

13· · · · · · · · · Do you see that?

14· · · ·A.· · ·Yes.

15· · · ·Q.· · ·Okay.

16· · · · · · · · · Is this Section 2.3 -- you know,

17· earlier today, you referenced terms in the RSA

18· relating to              Copilot, and Perplexity.

19· · · · · · · · · Is this the term you were thinking

20· of?

21· · · ·A.· · ·Yes.

22· · · ·Q.· · ·If you know, who proposed adding this
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·1· language to the RSA?

·2· · · ·A.· · ·I don't recall exactly who started the

·3· conversation or what the initial language was in the

·4· contract during negotiation, but we,

·5· Motorola/Lenovo, pushed for very specific and clear

·6· language around this point, and to include, to

·7· ensure that there was no confusion, very specific

·8· names of other players that could be deemed

·9· assistant services.

10· · · ·Q.· · ·Why did Motorola push for very specific

11· names to be included?

12· · · ·A.· · ·Because we felt the language was very

13· unclear, and for the most part, at Google's

14· discretion as to how they would define some of these

15· other players, whether they would be search,

16· assistive services, et cetera.

17· · · · · · · · · So we wanted to make it very clear

18· in relation to these partners and, to the extent

19· possible, within the language that you see here.

20· · · ·Q.· · ·Now, if we could turn to page 4 of

21· Exhibit 3, which has Bates ending 198, in the middle

22· of that page, there's a Section 2.16, and it carries


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·1· over to page 5.

·2· · · · · · · · · Earlier, I believe we were

·3· discussing a carve-out for North America.

·4· · · · · · · · · Does 2.16 relate to this carve-out

·5· of North America that you were referring to earlier?

·6· · · ·A.· · ·This is what I was --

·7· · · · · · · · · MR. GREENBLUM:· Objection to the

·8· form.

·9· · · · · · · · · Sorry.· Go ahead.

10· · · ·A.· · ·This is what I was referencing, yes.

11· · · ·Q.· · ·Okay.

12· · · · · · · · · This shows that the incentive

13· payments -- or the non-US incentive payments are

14· significantly larger than the US incentive payments

15· for premier tier devices; correct?

16· · · · · · · · · MS. O'CONNOR:· Object to form.

17· · · ·A.· · ·Yes.

18· · · ·Q.· · ·Do you know -- or actually, sorry.

19· · · · · · · · · Moving now to -- actually, give me

20· one minute.

21· · · · · · · · · Do you know why the payments differ

22· for non-US incentives than US incentives?


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·1· · · · · · · · · MR. GREENBLUM:· Objection to the

·2· form.

·3· · · ·A.· · ·Our understanding of the difference is

·4· based, first, on Google's ability to monetize on

·5· devices within relevant markets; however, the

·6· portion that you see here, the numbers, we believe

·7· is skewed by a few factors.

·8· · · · · · · · · One, as I previously mentioned, our

·9· understanding is the US carriers receive the revenue

10· share for devices that we activate through those

11· channels, and secondly, and probably as important,

12· we don't believe this number is an accurate

13· reflection even if we look at the carrier portion,

14· or exclude the carrier portion, as it relates to a

15· fixed RSA structure that we had in place for several

16· years.

17· · · · · · · · · And you had asked before, our US

18· business has grown.· It has grown particularly in

19· premium, which we know is a higher monetizable asset

20· for Google.

21· · · · · · · · · And so our strong belief is that the

22· gap that exists today that is partially being solved


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·1· by go-to-market dollars, that a large portion of

·2· that is more than likely attributed or should be

·3· attributed to the value of revenue share that we

·4· should be receiving in the US.

·5· · · · · · · · · So I don't see the numbers here as

·6· the totality of, in our agreement with Google, not

·7· only the amount that is derived for the US, but

·8· clearly not even close to our fair share of what we

·9· should be getting in the US.

10· · · ·Q.· · ·Would it be fair to say that Motorola

11· thought the numbers at the top of page 5 of

12· Exhibit 3 under "US Incentives" should have been

13· bigger?

14· · · · · · · · · MR. GREENBLUM:· Objection to the

15· form.

16· · · ·A.· · ·Yes.

17· · · ·Q.· · ·So why did Motorola sign the RSA if it

18· thought the payments in the US should have been

19· bigger?

20· · · · · · · · · MR. GREENBLUM:· Objection to the

21· form.

22· · · ·A.· · ·Well, we signed the RSA in conjunction


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·1· with an agreement on the go-to-market dollars, but

·2· we didn't have a viable alternative at the time to

·3· be able to recoup North America and/or the other

·4· numbers you see in this document to make up the

·5· difference.

·6· · · ·Q.· · ·If Motorola had a viable alternative, do

·7· you think it would have had more leverage in these

·8· negotiations?

·9· · · · · · · · · MR. GREENBLUM:· Objection to the

10· form.

11· · · · · · · · · MS. O'CONNOR:· Object to form.

12· · · ·Q.· · ·You can answer.

13· · · ·A.· · ·I'm just making sure.

14· · · · · · · · · Yes.

15· · · ·Q.· · ·Now, just one more question -- or sorry,

16· probably two more questions on Exhibit 3.

17· · · · · · · · · If we go down the page on page 5 of

18· Exhibit 3, towards the end of the page, there is a

19· Section 2.18.

20· · · · · · · · · Do you see that?

21· · · ·A.· · ·Yes.

22· · · ·Q.· · ·Okay.


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·1· · · · · · · · · MR. GREENBLUM:· Objection to the

·2· form.

·3· · · ·A.· · ·I believe so.

·4· · · ·Q.· · ·Have you thought about what -- or sorry.

·5· Let me start over.

·6· · · · · · · · · Have you thought about how it could

·7· impact Motorola if Google stopped making RSA

·8· payments to Motorola?

·9· · · ·A.· · ·Yes, I have thought about it.

10· · · · · · · · · This is a highly competitive

11· industry.·

12·                            · I mentioned earlier that our

13· profitability globally is

14· · · · · · · · · We've already discussed that we

15· should be receiving circa                        from Google

16· RSA, which is

17·

18· · · · · · · · · If we were not to receive these

19· funds, it would have significant financial burdens

20· on our business.

21· · · · · · · · ·

22·
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·1·

·2·

·3·

·4·

·5· · · · · · · · · We also believe that whatever

·6· decision is made in the United States will have

·7· potentially cascading effects in other markets as

·8· well.

·9· · · · · · · · · We have been in financial positions

10· in the past where we've had to make tough decisions.

11·

12·                                                                  .

13· · · · · · · · ·

14·

15·

16· · · · · · · · ·

17·

18·

19·

20· · · ·Q.· · ·I think you referred back to the

21·                  that you receive from Google; is that

22· correct?
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·1· · · ·A.· · ·Correct.

·2· · · ·Q.· · ·Now, only a portion of that is

·3· attributable to the RSA; correct?

·4· · · ·A.· · ·Correct.

·5· · · ·Q.· · ·You also mentioned a highly competitive

·6· market.

·7· · · · · · · · · What market were you referring to

·8· when you said that?

·9· · · ·A.· · ·The industry globally, but North America

10· as well.

11· · · ·Q.· · ·Were you referring to the smartphone

12· market?

13· · · ·A.· · ·Correct.

14· · · ·Q.· · ·If -- have you considered the impact to

15· Motorola if Google were to stop making RSA payments,

16· but continue making go-to-market payments?

17· · · · · · · · · MS. O'CONNOR:· Object to form.

18· · · ·A.· · ·I haven't explicitly thought about that

19· situation.

20· · · · · · · · · And my response would be, my view is

21· they serve -- they should be serving two different

22· purposes.· We are a channel to a platform or


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·1· services, ergo, we should share in revenue or

·2· monetization that comes from those platforms.

·3· That's the spirit of the RSA.

·4· · · · · · · · · The spirit of go-to-market, in my

·5· view, is additional dollars to be spent very

·6· specifically to amplify the message of what we are

·7· doing jointly and/or whatever platform that Google

·8· or other partners would want to amplify.

·9· · · · · · · · · The situation we're in now, just

10· given these discussions, is that they are getting

11· blended to a certain degree.

12· · · · · · · · · So I do see there being impact if

13· there would be no RSA, because we are a channel for

14· those services and believe we should be a partner in

15· receiving a portion of those -- of that revenue, and

16· I think there is also a benefit from go-to-market

17· that serve for a different purpose.

18· · · · · · · · · As I stated before, we believe in

19· the discussions with Google, this is being used as a

20· bridge to the RSA.· The go-to-market is being used

21· as a bridge to the RSA.

22· · · ·Q.· · ·Have you conducted any analyses or --


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·1· I'm sorry.

·2· · · · · · · · · Have you conducted any analyses to

·3· look at the impact that Google stopping making RSA

·4· payments could have on Motorola's business?

·5· · · · · · · · · MS. O'CONNOR:· "You" being Francois

·6· or...

·7· · · · · · · · · MS. WRIGHT:· Francois, yes,

·8· Mr. Laflamme.

·9· · · ·A.· · ·Not explicitly to that effect.

10· · · ·Q.· · ·Are you aware of anyone at Motorola

11· conducting such an analysis?

12· · · ·A.· · ·We analyze our opportunities to monetize

13· as a business, which includes dollars that we

14· receive from Google.

15· · · · · · · · · I'm not aware that there was a

16· specific analysis done of the impact -- well, let me

17· rephrase this.

18· · · · · · · · · We've looked at ultimately what we

19· would -- using Google dollars as a mechanism or as

20· an assumption as to what we would need to get --

21· garner from others to make up that difference.

22· · · · · · · · · So yeah, we've run analyses.· I just


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·1· don't recall it ever being done in the vein of

·2· Google stopping without another partner.

·3· · · · · · · · · We've done it with respect to what

·4· we would need to get from another partner to make up

·5· the difference, is my recollection.

·6· · · ·Q.· · ·And --

·7· · · ·A.· · ·Sorry.· Just to be clear.

·8· · · · · · · · · At least from my recollection,

·9· that's in the context of if we were -- or in a

10· situation if we were to move to another service that

11· we would lose those dollars, right, that ultimately,

12· Google would decide not to pay us anymore.

13· · · ·Q.· · ·Okay.

14· · · · · · · · · If Google stopped making RSA

15· payments to Motorola, what would Motorola owe to --

16· let me start over.

17· · · · · · · · · If Google stopped making RSA

18· payments to Motorola, would Motorola have

19· alternatives in the market?

20· · · ·A.· · ·So there are -- let me clarify.

21· · · · · · · · · Alternatives to what, specifically?

22· · · ·Q.· · ·Alternatives to Google in terms of


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·1· replacing some of the funding that you used to

·2· receive from Google's RSA.

·3· · · · · · · · · MR. GREENBLUM:· Objection to the

·4· form.

·5· · · ·A.· · ·A few comments.

·6· · · · · · · · · There are other assistive services.

·7· Every week that goes by, they all develop at

·8· different paces.· Some have certain capabilities

·9· that are better than others, some do not, and that

10· varies and evolves quite quickly.

11· · · · · · · · · Google provides a plethora of

12· platforms.· There are certain number of those

13· platforms that we would not have an alternative.

14· · · · · · · · · Maps is a good one, I think, or a

15· good viable alternative.

16· · · · · · · · · And arguably, Search is another one.

17· There are other players who are moving into the

18· space of search and improving or offering a

19· different value proposition, but clearly, Google

20· Search has been a very strong asset and a very

21· strong consumer platform.

22· · · · · · · · · And from an assistive services


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·1· perspective, again, there are other players in the

·2· market, some better than others.

·3· · · · · · · · · So we would have, for some of the

·4· assets, options; however, by virtue of Google paying

·5· RSA, a revenue share on those platforms, that

·6· creates a baseline, a threshold, for others to meet,

·7· to use an OEM as a vehicle for their properties.

·8· · · · · · · · · If you were to remove those

·9· payments, it essentially removes the baseline of

10· what others would need to pay to leverage an OEM

11· like us as a channel for their services.

12· · · · · · · · · So we would have options.· My strong

13· belief is the value that would come to us would

14· decline quite significantly.

15· · · ·Q.· · ·Is your belief that the value that would

16· come to Motorola would decline quite significantly

17· based on the alternatives that exist in the market

18· today?

19· · · ·A.· · ·I'm --

20· · · · · · · · · MR. GREENBLUM:· Objection to the

21· form.

22· · · · · · · · · Sorry.· Go ahead.


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·1· · · ·A.· · ·I'm basing that based on discussions

·2· we've had with other players and their willingness

·3· to provide funding for services that they're putting

·4· on our devices, and those amounts are generally much

·5· less than what we receive from Google today.

·6· · · ·Q.· · ·Okay.

·7· · · · · · · · · You mentioned Google Maps earlier.

·8· · · · · · · · · In your mind, is Google Maps

·9· connected to Motorola's RSA with Google?

10· · · ·A.· · ·I don't -- I don't know the intricacies

11· of the requirements in the MADA and how they relate

12· to the RSAs, to be honest.

13· (Clarification requested by the Realtime

14· Stenographer.)

15· · · · · · · · · MS. WRIGHT:· I am probably going to

16· switch gears to another topic.· I think this topic

17· is somewhere in the space of 15, 20 minutes.

18· · · · · · · · · Happy to keep going, and maybe take

19· a short break then or take a short break now.

20· · · · · · · · · I know we're sort of getting closer

21· to an hour, so totally up to you, Mr. Laflamme.

22· · · · · · · · · THE WITNESS:· I'm good to go.


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·1· form.

·2· · · ·A.· · ·Can you clarify what you mean by "impact

·3· on Motorola."

·4· · · ·Q.· · ·Have the choice screens -- have -- well,

·5· let me think for one sec.

·6· · · · · · · · · Have the choice screens impacted any

·7· payments that Motorola receives from any third

·8· parties?

·9· · · ·A.· · ·So let me give you our -- what we

10· understand to be the case with respect to Google

11· specifically --

12· · · ·Q.· · ·Okay.

13· · · ·A.· · ·-- and choice screens.

14· · · · · · · · · The data that I have seen is that

15· over the last several years, roughly aligned to when

16· we put choice screens in Europe, per the EMADA

17· agreement and the requirements in Europe, that the

18· choice to move away from Google, or to choose

19· another alternative, basically, we've seen very,

20· very little movement, if any, a slight reduction, I

21· think I'll get the numbers wrong, from I think it

22· was     percent to consumers choosing -- or using
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·1· Chrome down to something like           percent.· And even

·2· that slight decline is -- we're seeing a slight --

·3· similar decline in other markets as well.· So

·4· probably by virtue of other search agents becoming a

·5· little bit stronger.

·6· · · · · · · · · However, the model in the EMADA, our

·7· agreement with Google, is different than in other

·8· parts of the world whereby, at a high level, we pay

·9· for a license fee, and receive payment in addition

10· to offset that license fee.

11· · · · · · · · · My understanding is net-net for us

12· as a business, that results in circa $                      that

13· we receive from Google over the course of a year for

14· our devices in Europe, which my understanding is

15· much less than what we receive in other markets, and

16· obviously much less than we deserve.

17· · · · · · · · · So by virtue of going to choice

18· screen, we believe it has not changed behavior in

19· the consumer, they are still choosing Chrome, even

20· once given the choice, and unfortunately, it reduces

21· Google's incentive, or need, to pay OEMs like us in

22· terms of revenue share, because ultimately is the
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·1· Google's -- is the consumer's choice in that view,

·2· so -- and that has been very negative for us.

·3· · · ·Q.· · ·To your knowledge, does Motorola have --

·4· excuse me.· Let me start over.

·5· · · · · · · · · To your knowledge, does Motorola

·6· have any say over the design of the choice screen

·7· that appears on Motorola devices in Europe?

·8· · · ·A.· · ·I don't know.

·9· · · ·Q.· · ·Do you know if Motorola has any say in

10· what options appear on the choice screen in Europe?

11· · · ·A.· · ·I don't know.

12· · · ·Q.· · ·If you wanted to know the answers to

13· those questions, who would you go to at Motorola?

14· · · ·A.· · ·One of our software engineers and/or

15· somebody on our consumer experience teams.

16· · · ·Q.· · ·You also mentioned -- I believe you

17· mentioned having seen some data around choice screen

18· selections; is that correct?

19· · · ·A.· · ·Correct.

20· · · ·Q.· · ·Do you know, was that data that you

21· received in writing?

22· · · ·A.· · ·I received an e-mail with the


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·1· · · ·A.· · ·Yeah.

·2· · · · · · · · · I believe we will have a widget.                         I

·3· believe that will sit on the home screen, but that's

·4· the least -- not the least relevant -- it's not

·5· the -- we want it to be more useful to the consumer

·6· than just the consumer themselves going into the

·7· widget --

·8· · · ·Q.· · ·Okay.

·9· · · ·A.· · ·-- which is why a lot of what's

10· happening now with AI assistants is that the

11· assistant understands when it needs to show itself,

12· right, to help the consumer depending on what

13· they're doing.

14· · · ·Q.· · ·Okay.

15· · · · · · · · · Are you familiar with something

16· called Project Marble?

17· · · ·A.· · ·I am.

18· · · ·Q.· · ·What is Project Marble?

19· · · ·A.· · ·Project Marble was -- the idea of

20· Project Marble which was initiated by Qualcomm was

21· essentially to create a stronger offering in --

22· particularly in the US, but globally, working with


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·1· Motorola essentially to compete with Apple, as the

·2· primary objective, but to create another offering,

·3· particularly in the premium space, given Apple's

·4· dominance in the US and, generally, globally in the

·5· premium space, to what Samsung and Pixel have been

·6· able to do on their own.

·7· · · ·Q.· · ·Is Project Marble ongoing?

·8· · · ·A.· · ·We've put a -- specifically to Project

·9· Marble, we're on a pause at this point.· We continue

10· to have a strong relationship with Qualcomm, and we

11· just recently signed a commercial agreement, but the

12· project itself is on hold.

13· · · ·Q.· · ·Going back to sort of the project you're

14· working on where consumers would have the options,

15· potentially, of Copilot, Perplexity and Gemini,

16· focusing on Copilot to start, would Microsoft be

17· paying for Copilot to be one of the options a user

18· could select?

19· · · ·A.· · ·Yes.

20· · · ·Q.· · ·Have there been discussions between

21· Microsoft and Motorola about how those payments

22· would be structured?


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·1· · · ·A.· · ·Yes.

·2· · · ·Q.· · ·What have Microsoft and Motorola

·3· discussed about the payment structure?

·4· · · ·A.· · ·That discussion has evolved over the

·5· past couple of years.· Is there a specific point in

·6· time you're most interested in, or would you like

·7· sort of the evolution of those discussions?

·8· · · ·Q.· · ·The evolution of those discussions would

·9· be perfect.

10· · · ·A.· · ·So if I look prior to where we are today

11· with the existing agreement that we signed in

12· February, the February Google agreement, there were

13· two, I would say, milestones or two steps in that

14· process, the first was, which is referenced in the

15· materials, this Ohio Mini Program.

16· · · · · · · · · Ohio Mini was intended to be a

17· program to bring Copilot on one of our premium

18· devices that we were to launch in the summer of

19· 2024, I think June in 2024.

20· · · · · · · · · So a very narrow scope, at least of

21· our portfolio, and specifically to have it -- have

22· Copilot as the main experience on that device.


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·1· · · · · · · · · And so we had discussions around

·2· commercial agreements at that point for that narrow

·3· scope.· We never got to a finality around those

·4· commercial agreements.

·5· · · · · · · · · We were, at the time, very concerned

·6· with implications with our Google relationship and

·7· contract.

·8· · · · · · · · · At the time -- I'm less

·9· knowledgeable about MADA, but there were concerns

10· about MADA definitely in the RSA at that point in

11· time given the language that, even though we have a

12· percentage of our devices that can be

13· non-RSA-compliant, that the way a lot of the

14· contracts are written, there's a lot of discretion

15· to Google to make the decision as to what they want

16· to do, so it became very difficult for us to come to

17· an agreement with Microsoft on those commercials.

18· · · · · · · · · Post-Ohio Mini, where we didn't

19· actually execute on Ohio Mini, both from a

20· commercial perspective, but also from a technical

21· readiness for market, we continued conversations,

22· but again, at that point in time, this is still


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·1· prior to us signing the current agreement with

·2· Google, Microsoft was concerned that we wouldn't

·3· execute, again, given agreements that we had with

·4· Google, and we exchanged a lot of different,

·5· potential models.

·6· · · · · · · · · One, which, in our view, was to

·7· essentially replace what it would take to replace

·8· the entirety of what we were achieving from Google.

·9· And the reason for that is, again, the risk and the

10· lack of clarity of what we would be able to keep, if

11· we were to pursue even a slice of our portfolio with

12· Microsoft and what implications that would have on

13· the dollars coming in from our Google agreement.

14· · · · · · · · · In today's environment, we continue

15· to have the conversation, although given the more à

16· la carte model with Google, as well as the

17· opportunity for us to have other assistive services

18· per the contract on-device, at least economically,

19· we're thinking about it in a different form.· Now,

20· we still haven't come to a conclusion, yet, either.

21· · · ·Q.· · ·Great.· You guys are very helpful and

22· comprehensive.


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·1· "For Ohio and Longer Term" that's bolded.

·2· · · · · · · · · Do you see that?

·3· · · ·A.· · ·I do.

·4· · · ·Q.· · ·Okay.

·5· · · · · · · · · Then do you see the bullet that

·6· begins "RSA with Microsoft"?

·7· · · ·A.· · ·Yes.

·8· · · ·Q.· · ·Okay.

·9· · · · · · · · · So on this call with Microsoft, did

10· Motorola indicate that it needed an RSA with

11· Microsoft that was comparable to what Motorola gets

12· with Google?

13· · · ·A.· · ·Yes.

14· · · ·Q.· · ·Now, going down to the next bullet that

15· begins "Commitment from Microsoft," did Motorola

16· indicate to Microsoft that Motorola would be very

17· exposed to retaliation?

18· · · ·A.· · ·Yes.

19· · · ·Q.· · ·Retaliation by who?

20· · · ·A.· · ·Google.

21· · · ·Q.· · ·How could Google retaliate against

22· Motorola?


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·1· · · ·A.· · ·So our concern was if we were to proceed

·2· with Microsoft, again, on the basis of the way the

·3· contracts were written and the language, which is

·4· very gray, that Microsoft -- sorry, excuse me --

·5· Google could essentially pull all funding, both

·6· go-to-market and the RSA itself, and find us

·7· noncompliant, which is why discussions with

·8· Microsoft were both in terms of contributing to the

·9· full value of what we were achieving from Google, as

10· well as this reference to commitment, which we

11· discussed being a multiyear -- would need to be a

12· multiyear agreement with Microsoft, in the event

13· that Google did retaliate, as written here, that it

14· could take us a while to get back to a state of

15· normality with either party.

16· · · ·Q.· · ·Aside from pulling the funding, was

17· Motorola concerned of any other ways that Google

18· could retaliate against Motorola?

19· · · ·A.· · ·There's always a concern regarding GMS

20· applications, Maps as an example, that would be

21· detrimental to the consumer experience on-device, if

22· ever that was the case.


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·1· Samsung devices prior to it being released to other

·2· Android players.

·3· · · · · · · · · And so we felt -- not only did we

·4· believe Samsung was getting a higher -- a

·5· disproportionate payout from Google -- obviously,

·6· they're a bigger player in the marketplace than we

·7· are, but a disproportionate payout to Google, but

·8· they're also closer in terms of engineering

·9· development that would always put us secondary to

10· any new capabilities that came out from Android

11· and/or Gemini.

12· · · ·Q.· · ·Does that impact Motorola sales in the

13· United States?

14· · · ·A.· · ·I can't point to a direct cause, but it

15· clearly makes it more challenging for us to have the

16· same value proposition, and to put even commensurate

17· marketing dollars in the market.

18· · · ·Q.· · ·Is Motorola's view of Google's

19· relationship with Samsung a reason that Motorola was

20· having discussions with Microsoft?

21· · · ·A.· · ·It was one of the reasons.· Again, we

22· felt that with the advent of AI and AI assistants,


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·1· search as truly a search, somebody who's looking to

·2· have -- has a question and wants a piece of

·3· information back.

·4· · · · · · · · · I think about assistive services

·5· more broadly.· So performing a task, that could be

·6· ordering a car on your behalf, or a coffee, et

·7· cetera.· Not necessarily a very specific search for

·8· a piece of information.

·9· · · ·Q.· · ·Fair to say that there are assistive

10· services that are not search services?

11· · · ·A.· · ·Yes.

12· · · ·Q.· · ·And there are search services that are

13· not assistive services?

14· · · ·A.· · ·Potentially.

15· · · ·Q.· · ·You mentioned in that discussion with

16· Ms. Wright Meta and your potential discussions with

17· Meta.

18· · · · · · · · · Can you explain what particular app

19· or experience you were contemplating -- strike that.

20· · · · · · · · · Can you describe for the Court the

21· particular app or experience from Meta that you

22· considered preloading or somehow integrating into


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·1· Motorola devices.

·2· · · ·A.· · ·Our discussions with Meta started

·3· several years ago at a very high level as to what we

·4· could do potentially together around AI.

·5· · · · · · · · · Not much evolved from that other

·6· than us working on, well, a few things.

·7· · · · · · · · · There's obviously some of the

·8· models, like Llama 3 that we used within our -- some

·9· of our AI capabilities.· We also -- but then we also

10· worked with them specifically on a smart connect

11· capability from our phone to their VR glasses.

12· · · · · · · · · Other than that, there's continued

13· conversations we would have with Meta, mostly around

14·                , but nothing significant or that I'm

15· aware of in terms of assistive services at this

16· point.

17· · · ·Q.· · ·For the Court's benefit,

18·

19· · · ·A.· · ·Correct.

20· · · ·Q.· · ·It's the best kind of reality; right?

21· · · ·A.· · ·(Nods head up and down.)

22· · · ·Q.· · ·You mentioned the Llama 3 model;
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·1· · · ·A.· · ·I think that was part of the discussion.

·2· · · ·Q.· · ·If you could turn to the next slide, the

·3· one that has the phrase, "Small contribution unlocks

·4· large opportunity."· Do you see that?

·5· · · ·A.· · ·Yes.

·6· · · ·Q.· · ·So this reflects that the pitch to

·7· Microsoft was for a small contribution, they could

·8· be unlocking a large opportunity in the smartphone

·9· market; correct?

10· · · · · · · · · MS. WRIGHT:· Objection.· Form.

11· · · · · · · · · MR. GREENBLUM:· What's the basis for

12· the objection?

13· · · · · · · · · MS. WRIGHT:· Leading.

14· BY MR. GREENBLUM:

15· · · ·Q.· · ·Tell me what's going on on slide 5.· The

16· "Small Contribution Unlocks Large Opportunity."

17· · · ·A.· · ·Can I clarify one piece about this

18· document?

19· · · ·Q.· · ·Of course.

20· · · ·A.· · ·Yeah.· So we worked very closely with

21· Qualcomm.· Qualcomm had a consulting agency.· We

22· were supporting them.· The slides we're referencing


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·1· right now were developed by Qualcomm and their

·2· consulting agency.· So we used or may have used, I

·3· don't recall in certain meetings, but they were the

·4· ones who crafted these slides.

·5· · · ·Q.· · ·Okay.

·6· · · ·A.· · ·But back to your question, yes.

·7· · · ·Q.· · ·I'll restate the question so we have a

·8· better Q and A there.

·9· · · · · · · · · What's the pitch as reflected on

10· this slide was being made to Microsoft about Project

11· Marble?

12· · · ·A.· · ·So again, this was Qualcomm -- mostly

13· Qualcomm's pitch as taking a lot of the lead in the

14· Marble discussions was by investing or being a key

15· partner of the Marble initiative.· They could unlock

16· access to the entirety of the mobile smartphone

17· industry, where Microsoft today doesn't have much

18· presence, if any presence at all.

19· · · ·Q.· · ·Look at the next slide.

20· · · · · · · · · Do you see the row entitled

21· "Monetization Revenue Share"?

22· · · ·A.· · ·Yes.


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·1· · · ·Q.· · ·Do you see it says, "Microsoft to

·2· provide                 services revenue share"?

·3· · · ·A.· · ·Yes.

·4· · · ·Q.· · ·And that that was -- that revenue share

·5· was to be provided to other Marble partners to

·6· acquire customers and best in class tech

·7· partnerships?

·8· · · ·A.· · ·Yes.

·9· · · ·Q.· · ·To your recollection, what was

10· Microsoft's response to a proposal of a

11· services revenue share for Project Marble?

12· · · ·A.· · ·Fairly negative.· Both in terms of --

13· well, I think Microsoft made it clear multiple

14· times, right or wrong, that their primary objective,

15· particularly early, if they were to advance in the

16· mobile industry, would be not to monetize.· It was

17· more on the consumer experience.

18· · · · · · · · · But they were still learning about

19· the industry, and how monetization is shared in the

20· industry, but generally, they were fairly negative

21· on this point.

22· · · ·Q.· · ·I take it that your perspective as a
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·1· senior executive at an OEM is that you need a

·2· partner like Microsoft to provide you a monetizable

·3· experience in order to make your business run?

·4· · · · · · · · · MS. WRIGHT:· Objection.· Leading.

·5· · · ·A.· · ·(Reading sotto voce.)

·6· · · · · · · · · We need partners to complement or

·7· create the best user experience on our device, of

·8· which with those partners, yes, we would want to

·9· monetize.

10· · · ·Q.· · ·Creating the best user experience on

11· your device, but sharing none of the revenue from

12· those experiences would not be acceptable to you;

13· correct?

14· · · ·A.· · ·Correct.

15· · · ·Q.· · ·What percentage of the revenue from

16· Copilot, or use of Copilot, did Microsoft ever offer

17· you?

18· · · ·A.· · ·I don't recall that we ever had a

19· discussion on percent of revenue.· We did discuss an

20· activation/bounty model, and I believe those numbers

21· were in the                        per device, if I

22· recall correctly,                device.
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·1· · · ·Q.· · ·Was that proposal acceptable to you?

·2· · · ·A.· · ·That was lower than what was acceptable.

·3· · · ·Q.· · ·Can you explain why that was too low,

·4· from your perspective?

·5· · · ·A.· · ·From our perspective, it was too low for

·6· two reasons:· One, the majority of the discussion

·7· was on premium devices in North America, as a

·8· starting point, which, at least if you believe it to

·9· be true, their consulting partner did a tremendous

10· amount of analysis in this document around what

11· others made per device through rev share to be much

12· lower.

13· · · · · · · · · But also because it put at risk

14· potentially the full suite of dollars that we were

15· receiving with Google.

16· · · ·Q.· · ·Did you ever have a discussion with

17· Google where they told you that it put at risk the

18· full suite of dollars if you did this arrangement

19· with Microsoft?

20· · · ·A.· · ·No.

21· · · ·Q.· · ·If you turn to -- two more slides.· The

22· slide that's entitled "Microsoft needs to match


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·1· launch offers and give customer Copilot Pro for

·2· free."

·3· · · · · · · · · Do you see that?

·4· · · ·A.· · ·Yes.

·5· · · ·Q.· · ·Do you agree with that statement?

·6· · · ·A.· · ·(Reading sotto voce.)

·7· · · · · · · · · I agree with the sentiment.

·8· · · ·Q.· · ·Do you think -- strike that.

·9· · · · · · · · · For Motorola to agree to preload

10· Copilot, would you expect Microsoft to offer

11· Motorola users free use of Copilot Pro?

12· · · · · · · · · MS. WRIGHT:· Objection.· Form.

13· · · ·A.· · ·Our belief was that if Microsoft was

14· going to be a part of this program, that they needed

15· to jointly invest, whether that's through free

16· Copilot or through other mechanisms or rev share, to

17· make sure that it could be a success.

18· · · · · · · · · So this was one mechanism to do it

19· at the time many others in the industry were doing

20· the same -- were doing this.

21· · · ·Q.· · ·All the way to this point in time on

22· February 20, 2025, Microsoft has not put a proposal


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·1· on the table to ensure that success?

·2· · · · · · · · · MS. WRIGHT:· Objection to form.

·3· · · ·Q.· · ·Correct?

·4· · · ·A.· · ·Can you define "that success"?

·5· · · ·Q.· · ·I'm sorry.· I wanted to use your phrase,

·6· and you referenced "that success."

·7· · · · · · · · · So in your prior answer, you said,

·8· "One mechanism to do it."

·9· · · · · · · · · Strike that.

10· · · · · · · · · You said, "Whether that's through

11· free Copilot or through other mechanisms or rev

12· share, to make sure that it could be a success."

13· · · ·A.· · ·Okay.

14· · · ·Q.· · ·So let me ask a better question, but

15· that was what I was referring to.

16· · · · · · · · · To this point in time, on

17· February 20, 2025, has Microsoft offered you

18· commercial terms to preload Copilot that would make

19· it a success for Motorola?

20· · · ·A.· · ·No.

21· · · ·Q.· · ·If you could turn a few slides forward

22· to the slide entitled standard industry practice for


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·1· revenue share with ecosystem partners.· Do you see

·2· that, sir?

·3· · · ·A.· · ·I do.

·4· · · ·Q.· · ·In your experience, is it standard

·5· industry practice to provide revenue share to

·6· ecosystem partners?

·7· · · · · · · · · MS. WRIGHT:· Objection.· Vague.

·8· · · ·A.· · ·Well, we received some, so yes, as far

·9· as we know.

10· · · ·Q.· · ·Do you know of any OEM that distributes

11· services like Copilot without a revenue share?

12· · · ·A.· · ·No.

13· · · ·Q.· · ·If you could turn to the next slide, do

14· you see it's captioned, "Marble needs to spend about

15· $            in advertising to be competitive"?

16· · · · · · · · · Do you see that?

17· · · ·A.· · ·Yes.

18· · · ·Q.· · ·Is that consistent with your

19· understanding of what would have been necessary for

20· Project Marble to be successful?

21· · · ·A.· · ·It was an aggressive number, but not out

22· of the range of what needed to be invested.
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·1· some of the information from.

·2· · · · · · · · · Again, that's my personal

·3· experience.

·4· · · ·Q.· · ·When you say "it" in that sentence, you

·5· mean Perplexity?

·6· · · ·A.· · ·Correct.

·7· · · ·Q.· · ·In terms of the quality of the results,

·8· do you have a perception about the difference in

·9· quality of results between Perplexity and Google

10· Search?

11· · · ·A.· · ·I don't.

12· · · ·Q.· · ·You mentioned on direct with Ms. Wright

13· discussion of commercial terms with Perplexity, and

14· I think you described two of them, a revenue share

15· and some share of subscription revenue; correct?

16· · · ·A.· · ·Correct.

17· · · ·Q.· · ·What percentage of revenue share has

18· Perplexity offered to Motorola?

19· · · ·A.· · ·So it's still in discussion.· The

20· revenue share, if I recall correctly, is 6 percent.

21· The discussion we're having, though, is on what

22· denominator, so what is the basis of which -- we're


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·1· Mr. Laflamme.

·2· · · ·A.· · ·I'm ready.

·3· · · ·Q.· · ·So if I have done my job, Exhibit 8 is

·4· what you described on direct as the general

·5· go-to-market agreement with Google; correct?

·6· · · ·A.· · ·Correct.

·7· · · ·Q.· · ·And Exhibit 9 is the Gemini Go-to-Market

·8· Agreement with Google; correct?

·9· · · ·A.· · ·Correct.

10· · · ·Q.· · ·But these are the agreements currently

11· in force as of February 2025; correct?

12· · · ·A.· · ·Correct.

13· · · ·Q.· · ·On direct examination, you were

14· testifying about go-to-market agreements signed in

15· the summer of 2024; correct?

16· · · · · · · · · MS. WRIGHT:· Objection.· Misstates

17· prior testimony.

18· · · ·A.· · ·We spoke about those, yes.

19· · · ·Q.· · ·You didn't speak about Exhibits 8 and 9;

20· correct?

21· · · · · · · · · MS. WRIGHT:· Objection.· Misstates

22· prior testimony.


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·1· · · · · · · · · MR. GREENBLUM:· I think we can limit

·2· the objections to form.

·3· · · ·A.· · ·I don't recall.· I don't think it's --

·4· we did not discuss these yet.· This is the first

·5· time I have seen them here today, yes.

·6· · · ·Q.· · ·So you weren't discussing Exhibits 8

·7· and 9 with Ms. Wright; correct?

·8· · · ·A.· · ·Not specifically.

·9· · · ·Q.· · ·Okay.

10· · · · · · · · · If I could trouble you to point me

11· to any provision in here under which you would -- in

12· either of Exhibit 8 or 9, forfeit go-to-market funds

13· if you were to preload a different app, or a

14· different service?

15· · · ·A.· · ·I don't believe it's in either of these

16· documents.

17· · · ·Q.· · ·Okay.· Thanks.

18· · · ·A.· · ·But our concern has always been language

19· around Google's sole discretion or Google approval,

20· which I believe is in these documents.· And that has

21· been our worry, at times, as to whether or not we

22· would receive these funds, or not, under whatever


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·1· conditions could have taken place.

·2· · · ·Q.· · ·You have given consideration -- strike

·3· that.

·4· · · · · · · · · Can you point me to the specific

·5· sole discretion language?· These are contracts.                        I

·6· think we should get specific about the language.

·7· · · ·A.· · ·For the record, I'm not a lawyer.

·8· · · · · · · · · Let's see, Section 3.2.

·9· · · ·Q.· · ·You're in Exhibit 8; right?

10· · · ·A.· · ·Sorry.· Yes.

11· · · · · · · · · As an example, "Each proposed

12· marketing plan will be subject to Google's review

13· and approval, and must be approved by the global

14· go-to-market advisory council."

15· · · ·Q.· · ·Okay.

16· · · · · · · · · Anything else in Exhibit 8?

17· · · ·A.· · ·Do you want me to go through the whole

18· agreement?

19· · · ·Q.· · ·Well, let's just stick with Exhibit 8

20· for now.

21· · · ·A.· · ·Okay.

22· · · ·Q.· · ·It's just another page-and-a-half.


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·1· · · ·A.· · ·On page -- I don't know what the page

·2· numbers are here, ending in 74.

·3· · · ·Q.· · ·Yes.

·4· · · ·A.· · ·"Google shall use its internal reporting

·5· tools and methodologies to determine

·6· whether Motorola is --

·7· (Clarification requested by the Realtime

·8· Stenographer.)

·9· · · ·Q.· · ·When you read text, you have to read

10· really slow.

11· · · ·A.· · ·We're going to be here for a while.

12· · · · · · · · · "Google shall use its internal

13· reporting tools and methodologies to determine

14· whether Motorola has met any of the specified

15· targets."· These targets set forth that would need

16· to be approved, my understanding, by Google.

17· · · ·Q.· · ·Just to ask you about that,

18· Mr. Laflamme, those targets are number of

19· activations; correct?

20· · · ·A.· · ·I'm not sure if that's the only metric

21· used.

22· · · ·Q.· · ·Let me know if you see another metric


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·1· here.

·2· · · ·A.· · ·Yeah.· So for the -- my understanding

·3· reading this, for the --                   -- (reading

·4· sotto voce).

·5· · · · · · · · · So for the                   , it's based on

·6· achievement of activations in the first half of the

·7· year.· Okay.

·8· · · · · · · · · What I was referencing, which I'm

·9· looking in more detail, but within the marketing

10· plan, and within our discussions with Google, per

11· the marketing plans, there are metrics that we agree

12· upon for the investment of those dollars, and those

13· are reviewed on a quarterly basis.

14· · · ·Q.· · ·You're not referring to any metrics

15· described for the marketing plan described in the

16· agreement, I take it?

17· · · ·A.· · ·It is the marketing plan, or set of

18· marketing activities as referenced here in the

19· document, yeah.

20· · · ·Q.· · ·Can you think of a circumstance when

21· Google has rejected a marketing plan, or declined to

22· reimburse you for marketing expenses because of
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·1· another app you proposed to load on the phone or

·2· another service you proposed to offer on the phone?

·3· · · ·A.· · ·No.

·4· · · ·Q.· · ·Not one?

·5· · · ·A.· · ·No.

·6· · · ·Q.· · ·In your 13 years at Motorola?

·7· · · ·A.· · ·I've only been at Motorola for six.

·8· Only really been focused on this for the last couple

·9· of years, but no.

10· · · ·Q.· · ·Are you aware from -- of prior instances

11· of that happening, before you were working on this?

12· · · ·A.· · ·I'm not aware.

13· · · ·Q.· · ·Thanks.

14· · · · · · · · · If we could just turn back for a

15· moment to Exhibit 3, the Amended RSA.

16· · · · · · · · · If I understood the -- we were

17· looking at page 5, with the

18· · · · · · · · · If I understood your testimony on

19· direct correctly, it was that you felt that the

20·             should have been higher; correct?

21· · · ·A.· · ·Yes.

22· · · ·Q.· · ·So if that number were 5X, if Google
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·1· agreed to pay you five times as much for that

·2· placement that is reflected there for $                     it

·3· would cost a competitor five times as much to make

·4· you whole, if you went with the competitor instead

·5· of with Google; correct?

·6· · · ·A.· · ·Correct.

·7· · · ·Q.· · ·I take it -- strike that.

·8· · · · · · · · · If you could turn to Exhibit 4.

·9· Exhibit 4 is the e-mail thread Ms. Wright was

10· discussing with you from April of 2024.

11· · · · · · · · · Do you see that?

12· · · ·A.· · ·Yes.

13· · · ·Q.· · ·If you look at the bottom of the page

14· Bates labeled at the end 177.· It's the third page.

15· · · ·A.· · ·Yes.

16· · · ·Q.· · ·And you see it says -- Ms. Wright

17· directed you to language in the e-mail from

18· Mr. Chadaga about "Looking to back out of the June

19· time frame because of the money that Google has

20· offered, and Ali is giving us an out."

21· · · · · · · · · Do you see that?

22· · · ·A.· · ·I do.
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·1· · · ·Q.· · ·Okay.

·2· · · · · · · · · If you look up a little further in

·3· the e-mail, do you see that it says "On the

·4· experience side, Microsoft continues to be very

·5· confident that the experiences will," all caps,

·6· "will be compelling by the June launch time frame."

·7· · · · · · · · · Do you see that?

·8· · · ·A.· · ·I do.

·9· · · ·Q.· · ·Does that refresh your recollection that

10· as of April of 2024, the experiences on Copilot were

11· not yet compelling?

12· · · · · · · · · MS. WRIGHT:· Objection.· Leading.

13· · · ·A.· · ·We had a lot of reservations.

14· · · ·Q.· · ·With Copilot?

15· · · ·A.· · ·With Copilot.

16· · · ·Q.· · ·What were those reservations?

17· · · ·A.· · ·That it would be ready by the time we

18· launched our device.

19· · · ·Q.· · ·What was the name of the device that you

20· were launching in June of 2024, just so I have it,

21· was it the Aura, the Vellar [ph]...

22· · · ·A.· · ·So that's internal code names, but Aura


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·1· and Juno.· She can't tell me.· Sometimes she nods.

·2· I believe it was Aura and Juno.

·3· · · ·Q.· · ·So you had reservations about the

·4· readiness of Copilot by the time of the Aura or Juno

·5· launch in summer of 2024?

·6· · · ·A.· · ·Yes.

·7· · · ·Q.· · ·One of the reservations, I take, it had

·8· to do with latency; is that correct?

·9· · · ·A.· · ·Correct.

10· · · ·Q.· · ·Can you describe for the Court what

11· latency is.

12· · · ·A.· · ·The time it takes to complete something.

13· · · ·Q.· · ·In the context of the Gen AI app, what

14· does latency mean to you?

15· · · ·A.· · ·The time it takes to complete a task.

16· · · ·Q.· · ·So the concern with Copilot was it was

17· taking too long to complete the task?

18· · · ·A.· · ·I don't recall explicitly what task, but

19· yeah, there was concerns.

20· · · ·Q.· · ·Do you see there's a second issue

21· involving something called recall?· Can you explain

22· to the Court what technical issue with Copilot that


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·1· was?

·2· · · ·A.· · ·So the spirit of recall was to allow the

·3· consumer to recall a piece of information that they

·4· either explicitly tagged to be recalled, or, and I

·5· believe at this time the intention was to pull some

·6· of that information from other applications.

·7· · · · · · · · · In this case I believe it was based

·8· on SMS.· So text.

·9· · · · · · · · · I don't recall the details, but I

10· think there was a discussion around, one, whether

11· the technical capability was there to do it, and

12· whether or not it could be expanded to other sources

13· here being referenced as WhatsApp, or -- as an

14· example.

15· · · ·Q.· · ·If you look on the first page of the

16· e-mail thread -- this is an e-mail from you, and you

17· describe "Problems both with the experience and with

18· the design of Copilot."

19· · · · · · · · · Do I have that right?

20· · · ·A.· · ·Yes.· Yeah.

21· · · ·Q.· · ·When did Microsoft fix the problems with

22· the experience and the design in Copilot?


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·1· · · ·A.· · ·I don't know.· I don't know.

·2· · · ·Q.· · ·You're not aware whether they fixed them

·3· even today?

·4· · · · · · · · · MS. WRIGHT:· Objection.· Foundation.

·5· · · ·A.· · ·I think the use cases continue to

·6· evolve.· So whether this specific instance was ever

·7· solved in the use case we were looking for, I don't

·8· know.

·9· · · ·Q.· · ·Has Copilot improved, generally, since

10· April of 2024?

11· · · · · · · · · MS. WRIGHT:· Objection.· Foundation.

12· · · ·A.· · ·I think so.

13· · · ·Q.· · ·What's the basis for that belief?

14· · · ·A.· · ·My own personal usage of Copilot.

15· · · ·Q.· · ·At what point based on your own personal

16· usage between April of 2024 and today is it your

17· perception that it improved?

18· · · ·A.· · ·I can't point to a specific time, but my

19· usage of Copilot is not an accurate reflection of

20· the challenges we were facing with some of these

21· very specific-use cases.

22· · · · · · · · · But that said, I don't know if these


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·1· · · · · · · CERTIFICATE OF COURT REPORTER

·2· · · · ·I, Marjorie Peters, Fellow of the Academy of

·3· Reporting, Registered Merit Reporter, Certified

·4· Realtime Reporter, Realtime Systems Administrator,

·5· and Notary Public in the District of Columbia,

·6· before whom the foregoing deposition was taken, do

·7· hereby certify that the witness was placed under

·8· oath according to the law; that the foregoing

·9· transcript is a true and correct record of the

10· testimony given; that said testimony was taken by me

11· stenographically and thereafter reduced to

12· typewriting under my direction, and that I am

13· neither counsel for, related to, nor employed by any

14· of the parties to this case and have no interest,

15· financial or otherwise, in its outcome.

16· · · · ·I further certify that signature was

17· not waived by the witness.

18· · · · ·IN WITNESS WHEREOF, I have hereunto set my

19· hand this· · day of· · · · · ·, 2025.

20

21
· · Marjorie Peters, FAPR, RMR, CRR, RSA
22· My commission expires October 31, 2029.


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